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                                                                 Peter Cianchetta, SBN: 220971
                                                            2    CIANCHETTA & ASSOCIATES
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                                                            5
                                                                 Attorney for Deborah Leigh Miller-Zuranich
                                                            6

                                                            7                            UNITED STATES BANKRUPTCY COURT
                                                            8
                                                                                          EASTERN DISTRICT OF CALIFORNIA
                                                            9
                                                                      In re:                                        Case No. 2019-21640
                                                            10
 CIANCHETTA & ASSOCIATES




                                                            11        Debora Leigh Miller-Zuranich                  DCN: PLC-07
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                     , Debtors        Hearing Date: October 8, 2019
                               Elk Grove, CA 95624




                                                            13                                                      Hearing Time: 2:00 PM
                                                                                                                    Hon. Christopher D. Jaime
                                                            14                                                      Courtroom 32 - Dept B
                                                            15
                                                                        DECLARATION OF STANLEY CORNELIUS IN SUPPORT OF MOTION TO
                                                            16                        EMPLOY REAL ESTATE BROKER

                                                            17   I, Stanley Cornelius , declare:
                                                            18   1.       The matters as set forth in this declaration are true of my own knowledge; and, if called
                                                            19
                                                                 upon to do so, I could and would competently testify to them.
                                                            20
                                                                 2.       I have held a Real Estate Salesperson license with broker CHARLES CLAIBORNE
                                                            21
                                                                 KELLUM, BRE No. 01128054.
                                                            22

                                                            23   3.       I am a member in good standing with the Oakland/Berkley Association of Realtors.

                                                            24   4.       I have sold homes in Alameda and Contra Costa Counties since 1992.

                                                            25   5.       I have not been retained for any prepetition services on behalf of the Debtor or the
                                                            26   Trustee, and I have not received retainers or advanced fees.
                                                            27
                                                                 6.       I understand how the Court process must be followed.
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